               Case 2:17-cv-00082-WHA-CSC Document 3 Filed 02/15/17 Page 1 of 2


AU 440 (Rev. 12/09) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the

                                                   Middle District of Alabama

 CHRISTOPHER THORNTON and PATRICK DUNN
                                                               )
                                                               )
                             Plaint(
                                                               )
                                                                       Civil Action No.
                                V.                             )                          c9
              STARBUCKS CORPORATION                            )
                                                               )
                            Defendant                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) STARBUCKS CORPORATION
                                   do Prentice Hall Corporation System, Inc.
                                   attn.: Registered Agent
                                   150S Perry St.
                                   Montgomery, AL 36104



          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)       or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ADA Group, LLC
                                 attn.: Cassie E. Taylor
                                 4001 Carmichael Road, Suite 570
                                 Montgomery, Alabama 36116



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                   P.
                                                                          CLERK OF COUR



Date:
                     A-5-4 —7
                                                                                    Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                        PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           El I personally served the summons on the individual at (place)
                                                                                   On (date)                        ; or

           El I left the summons at the individual's residence or usual place of abode with ('name)
                                                                 a person of suitable age and discretion who resides there,
           On (date)                               , and mailed a copy to the individual's last known address; or

           El I served the summons on (name of individual)                                                                    , who is

            designated by law to accept service of process on behalf of ('name of organization)
                                                                                   on (dale)                        ; or

           El I returned the summons unexecuted because                                                                            or,

           El Other (specify):




           My fees are $                           for travel and $                 for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                         Server's signature



                                                                                       Printed name and title




                                                                                          Server's address

 Additional information regarding attempted service, etc:


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